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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


 UNITED STATES OF AMERICA,

            Plaintiff,

    vs.                                                      CRIMINAL NO. 23-522 KG

JOSE MANUEL MARTINEZ-MONTELONGO,

            Defendant.
                                         ORDER

       THIS MATTER comes on for consideration sua sponte. The defendant has been arraigned in

the above-styled criminal action and has been given a date by which pre-trial motions shall be filed. In

an effort to streamline the discovery process and minimize unnecessary efforts of the Court personnel

and counsel, the Court deems that the following discovery will be authorized by the Court through the

United States Magistrate Judge.

       Wherefore, IT IS HEREBY ORDERED as follows:

       1. DEFENDANT IS DEEMED TO REQUEST DISCOVERY UNLESS WAIVER IS

FILED. The Defendant is on notice that unless he or she files with the Court no later than 7 days from

the entry of this Order a waiver of request for discovery from the Government signed by the Defendant,

the Court will deem the Defendant to have requested discovery and be subject to the reciprocal

discovery obligations of Rule 16 of the Federal Rules of Criminal Procedure. See Fed. R. Crim. P.

16(b)(1).

       2. DISCLOSURE OF EVIDENCE BY THE GOVERNMENT. Unless the defendant has

filed the aforesaid waiver, and subject to paragraph 12 below, within 14 days of the entry of this Order,

the Government shall provide to the Defendant’s attorney without motion the discovery to which the
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Defendant is entitled pursuant to Rules 16(a)(1)(A), (B), (C), (D), (E), and (F) of the Federal Rules of

Criminal Procedure.

       3. DISCLOSURE OF EVIDENCE BY THE DEFENDANT. If the Defendant has not filed

the waiver of request for discovery within 7 days of the entry of this order and the Government has

complied with its discovery obligations of Rule 16, the Defendant shall produce within 14 days of the

Government’s compliance with this disclosure order the discovery to which the Government is entitled

pursuant to Rules 16(b)(1)(A) and (B) of the Federal Rules of Criminal Procedure.

       4. EXPERT WITNESSES. The Court will set a date before trial by which each party shall

disclose a written summary of testimony the party intends to use under Rules 702, 703 or 705 of the

Federal Rules of Evidence during its case in chief at trial. This summary must describe the witness’s

opinions, the bases and the reasons therefor, and the witness’s qualifications.

       5. CONTINUING DUTY TO DISCLOSE. It is understood that discoverable material may

come into the possession of a party after the deadlines set forth in this order. Accordingly, if prior to

or during trial a party discovers additional evidence or material which is subject to discovery or

inspection under Rule 16, such party shall promptly notify the other party of the existence of the

additional evidence or material.

       6. INFORMATION NOT SUBJECT TO DISCLOSURE.                             Unless mandated by the

remaining paragraphs of this Order, evidence not otherwise subject to disclosure under Rule 16 is not

required to be produced pursuant to this standing discovery Order.

       7. DISCLOSURE OF BRADY, GIGLIO AND JENCKS ACT MATERIALS.                                     The

Government shall make available to the Defendant by the time required by the applicable law all

material for which disclosure is mandated by Brady v. Maryland, 373 U.S. 83 (1963), by Giglio v.

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United States, 405 U.S. 150 (1972), and by the Jencks Act (18 U.S.C. § 3500) and Rules 12(h) and

26.2. Pursuant to the Due Process Protections Act, the Court confirms the Government’s obligation to

produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland and its progeny, and

orders it to do so. Failing to do so in a timely manner may result in consequences, including but not

limited to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt

proceedings, or sanctions by the Court.

        8. DISCLOSURE OF FEDERAL RULE OF EVIDENCE 404(b) MATERIAL. All Rule

404(b) information shall be disclosed by the Government to the Defendant at least 7 days prior to trial

unless otherwise ordered by the Court.

        9. FURTHER DISCOVERY MOTIONS SHALL NOT BE FILED BY EITHER PARTY

EXCEPT AS AUTHORIZED BELOW. The Defendant may file with the Court a particularized

“Notice of Brady Requests” made to the Government in order to satisfy any specificity requirements

under United States v. Agurs, 427 U.S. 97 (1976). If a party contends that the opposing party has not

provided the material required to be produced by this Order, that party may petition this Court for its

disclosure only after a specific request for production has been denied by the opposing party. However,

the Court will deny any such petition unless the party seeking production complies with the following

requirements:

              A. Identifies with specificity the evidence required to be disclosed and the paragraph of this

Order authorizing its production; and

              B. Identifies the attorney for the Government or attorney for the Defendant to whom a

specific request for disclosure was made, the date such disclosure was denied and the proffered reason

for denial.

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       Such petitions shall be filed by the motions deadline as set by the Magistrate Judge at

arraignment; however, a petition shall not be refused as untimely where the opposing party has

previously declined production on the grounds of present unavailability of the evidence or where the

applicable law does not require production until after the motions deadline.

       10. PRESERVATION OF TAPES, NOTES AND OTHER MEMORANDA.                                          The

Government shall not purposefully destroy any tapes, notes, electronic data, surveillance logs, reports,

memoranda or communications generated in connection with this case until it is resolved.

       11. NON-DISCOVERY PRE-TRIAL MOTIONS. All non-discovery pre-trial motions,

including a motion for a bill of particulars pursuant to Rule 7(f) of the Federal Rules of Criminal

Procedure, shall be filed by the motions deadline as set by the Magistrate Judge at arraignment.

       12. RULE 16.1 PRETRIAL DISCOVERY CONFERENCE. No later than 14 days after

arraignment, the attorney for the Government and the Defendant’s attorney will confer regarding

pretrial discovery. If an extension of any of the deadlines set forth herein is necessary as to any item or

category of discovery, the attorney for the party requiring the extension shall promptly notify the Court.

If the parties conclude, based on the complexity of the case or otherwise, that a different scheduling

order should be substituted for this Order, the parties shall promptly submit a joint scheduling order

for the Court’s consideration.

   DATED: 4/25/23


                                                   DAMIAN L. MARTINEZ
                                                   UNITED STATES MAGISTRATE JUDGE




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